         Case 1:16-cr-00259-JKB Document 905 Filed 03/31/20 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA
                                                 *
                 vs.                                           Case No. 1:16-cr-00259-JKB-6
                                                 *
    Jorge Raul Guerra Castillo
                                                 *

                                              ******

                                             ORDER


         Reference is made to this Court’s March 27, 2020 order (ECF No. 902) in response to
Defendant’s Emergency Motion Regarding Provision of Medical Update (ECF No. 901) in
response to information that: (1) Defendant had been exposed to COVID-19 by virtue of his
cellmate testing positive for the virus; and (2) no information regarding his health status or future
medical management (in the event he tests positive) was made available to his family or counsel.
In its order, the Court asked that the U.S. Marshals Service provide a health status update to
Defendant’s counsel as soon as possible, to include a description of next steps should he test
positive, consistent with security concerns at the facility. Id. at 2.
        Today, Defendant files another Emergency Motion Regarding Provision of Medical
Update indicating that the update to counsel requested by this Court’s March 27, 2020 order has
not yet taken place despite significant efforts by Defense Counsel, and requesting that the Court
order a telephone conference to include facility, medical and U.S. Marshals Service personnel to
provide this update.
        The Court is reluctant to order such a call at a time of its choosing that would inevitably
divert resources away from the COVID-19 health emergency and also necessarily involve
courthouse personnel to arrange. Further, there are many demands placed on the personnel
needed for such a call, and it may well be that that definitive information such as testing results
are not yet available for a meaningful update to occur. Instead, therefore, the Court will order
that the update described in its March 27, 2020 Order be given to Defense Counsel no later than
5 pm on April 3, 2020. To the extent medical information is still pending at that time, that can
be communicated to Defense Counsel, but it is not a reason to further delay some update.



 3/31/2020                                              /s/
Date                                                   J. Mark Coulson
                                                       United States Magistrate Judge
